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Un .
AO 91 (Rev 8/03] CriminalCumplaint So‘t:ges'lnat§l:$§n§tg?Tg%
United States District Court W`R 1 37 29'3
soUTHERN DISTRICT oF TEXAS
MCALLEN DIVISION DMB“dlel/¢Clerk

UNITED STATES OF AMERICA

v_ CR|MINAL COMPLA|NT

Maria Eugenia Saucedo-Perez principal

Case Number:

YOB: 1975 mexico M-IS- 05 65 -M

(Name and A.ddress of Dcfendanl]

l, the undersigned complainant being duly sworn state the following is true and correct to the best of my

 

l<nowledge and beliei'. Un or about March16,2018 in Hida|go tounty, m
the Southern District of Texas defendants(s) did,
(Trock Stalu!ory Zanguoge of Ujj"ense)

knowing or in reckless disregard of the fact that Li|iana Lopez-Cesario and Luz Liliana Ramirez-Gomez,
citizens of Niexico, along with eleven (11) other undocumented aliens, for a total of thirteen (13}, who had
entered the United States in violation of law, concealed, harbored or shielded from detection or attempt to
conceal, harbor, or shield from detection such aliens in any place, including any building or means of
transportation, to wit: in a residence located near Donna, Texas,

in Violetion ofTitle 8 United States Code, Section(s) 1324(a)(1)(A)(iii) FELONY

I further state that l arn a(n) U.S. Senior Border Patrol Agent and that this complaint is based on the
following t`aCtS:

On March 15, 2018, Border Patrol Agents received information from San Diego Border Patrol Sector regarding

a suspected smuggler, identified as Maria Eugenia SAUCEDO~Perez, a citizen of Mexico. Information received
was that SAUCEDO was harboring illegal aliens at a residence in Donna, Texas.

l declare under penalty of perjurvthat the statements in this complaint are true and correct. Executed on Nlarch 17, 2018.

Continued on the attached sheet and made a mart of this comnlaintr -Yes [:| No
Sobmitted by reliable electronic means, sworn to and attested
to telephonica||y per Fed. R. Cr. P. 4.1, and probable cause
found °n; ISI Sa|vador Mendez
Signature of Complainant

Salvador Nlendez Senior Pairol Agent
_ '_` . Printed Name of Complainant
3:38 p.m.
|Vlarch ‘lT/', 2018 at lVloAllen, Texas
Date City nd State

Peter. E. Ol'msby , U. S. Magistrate Judge M g 0

l\|ame and Tltle of Judioia| Ofncer " Signalure of Judicial Otncer

Swol'n to before me ’»

 

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UN|TED STATES DlSTR|CT COURT

SOUTHERN DlSTR|CT OF TEXAS
NchLLEN, TEXAS

ATTACHMENT ro chMmAL coMPLAlNr:
M-1s_0$o5 -M

RE: llllaria Eugenia Saucedo-Perez

CONTINUATlON:

On lvlarch 16, 201_8, an agent proceeded to the residence and observed a wood frame house and
several mobile homes on the same property. As the agent was parking in front of the house, in an
attempt to knock on the door to speak with a resident, he observed a male subject walking towards
him from the back of the house. The male subject approached the agent and the agent identified
himself as a Border Patro| Agent. During conversation, the male subject later freely admitted to
being illegally present in the United States. l\/|oments later, the agent observed an additional male
subject opening the door to a mobile home and observed several subjects sitting down on the floor.
The agent proceeded to walk towards the male subject who opened the door, and identified himself
as a Borcler Patrol Agent. The agent asked the male subject if he lived there at the mobile home, to
which the male subject stated ”No”, that he was just an illegal alien trying to get to Houston, Te)<as.
As the agent was talking to the male subject, he observed several subjects inside the mobile home
sitting down on the kitchen floor and a female trying to hide under a mattress

The agent conducted an immigration inspection on all subjects from the door way, and all subjects
were determined to be illegally present in the United States. The subjects voluntarily exited the
mobile home and were placed under arrest.

Nloments later, a female subject, later identified as l\/laria Eugenia SAUCEDO-Perez a citizen of
lviexico, exited the wood frame house. Agents approached SAUCEDO and asked if she lived at the
house, to which SAUCEDO stated ”yes". SAUCEDO was questioned as to her involvement in alien
smuggling to which S_AUCEDO stated she was not involved in alien smuggling SAUCEDO was read
her l\/llranda Flights and she stated she understood her rights. SAUCEDO gave agents written and
verbal consent to search her house. Agents made entry and apprehended three female subjects
determined to be illegally present in the United States.

All subject were placed under arrest and transported to the Border Patrol Station for processing

PRINC!PAL STATEMENT'
l\/laria Eugenia SAUCEDO-Perez, a citizen of l\/lexico, was read her Miranda Rights and agreed to
provide a statement

SAUCEDO stated she has been living at her residence for eleven years SAUCEDO stated she only
knew about the three females staying at the trailer house and did not know more individuals were
staying there SAUCEDO stated she offered the three females $20 (USD) to help her around her
house and did not know they were illegal aliens

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UN|TED STATES D|STRlCT COURT

SOUTHERN DlSTRlCT OF TEXAS
' NchLLEN, TEXAS

ATTACHMENT To chMwAL coMPLAlNT:
m-1s- 05¢5-:\/1

RE: Maria Eugenia Saucedo-Perez

CONT|NUAT|ON:

MA TERIAI_ WITNE$$ 1

Liliana LOPEZ*Cesario, a citizen of i\/iexico, was read her l\/liranda Rights and agreed to provide a
statement

LOPEZ stated she made her smuggling arrangements and was to pay $1000 (USD) to be smuggled
into the United States. Once in the United States, LOPEZ claimed she was transported to the house
where she was later arrested in. LOPEZ stated that when she arrived to the house, a woman was
there to receive her. LOPEZ indicated that the woman instructed her to cook food for the subjects at
the other house.

LOPEZ identified SAUCEDO through a photo lineup as the person who received her when she arrived
to the house and as the person who instructed her to cook.

MATER!AL W!TNESS 2
Luz Li|iana RAM|REZ-Gomez, a citizen of l\/lexico, was read her Miranda Rights and agreed to provide
a statement

RAiviiREZ stated she made her smuggling arrangements and was to pay $5,500 (USD) to be smuggled
into the United States. Once in the United States, RAM|REZ stated she was transported to the house
where she was later arrested in. RAiVllREZ claimed that when she arrived to the house, a woman
was there to receive her. RAM|REZ indicated that the woman would take her and several other
individuals food and water to the trailer house she was staying in. RAlV|lREZ stated the woman
instructed her to not make too much noise or commotion. RAi\/llREZ claimed the woman instructed
her to cook food for the subjects at the trailer house. ,

RAM|REZ identified SAUCEDO through a photo lineup as the person who received her when she
arrived to the house and as the person who instructed her to cook.

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